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                           IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                            MDL NO. 2179
“DEEPWATER HORIZON” in the
GULF OF MEXICO, on April 20, 2010                          SECTION: J

                                                           JUDGE BARBIER

                                                           MAGISTRATE JUDGE SHUSHAN
THIS DOCUMENT RELATES TO:
11-263

                                    NOTICE OF SUBMISSION

       Please take notice that the undersigned parties shall bring on their Motion to Dismiss for

Failure to State a Claim before the Honorable Carl J. Barbier, United States District Court,

Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana, 70130 at 9:30 a.m. on

the 11th day of May 2011, or as soon thereafter as counsel may be heard.

Date: March 10, 2011

                                                 Respectfully submitted,

                                                 WARE, JACKSON, LEE & CHAMBERS, LLP


                                                 BY: _/s/ C. Dennis Barrow, Jr.____________
                                                      Don Jackson
                                                      Texas Bar No. 10476000
                                                      Fed ID No. 6915
                                                      C. Dennis Barrow, Jr.
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                                                      2929 Allen Parkway, 42nd Floor
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                                                 Counsel for Defendant, Dril-Quip, Inc.
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                               CERTIFICATE OF SERVICE

       I certify that the above and foregoing Notice of Submission will be served on all counsel
by electronically uploading the same to LexisNexis File & Serve in accordance with Pretrial
Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of the
United States District Court for the Eastern District of Louisiana by using the CM/ECF System
which will send a notice of electronic filing in accordance with the procedures established in
MDL 2179, on this 10th day of March, 2011.



                                                   /s/ C. Dennis Barrow, Jr._______________

                                                   C. Dennis Barrow, Jr.




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